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         Attachment A
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Sent from my iPhone

> On Feb 2, 2024, at 11:19 AM, Adel Pappas              @cafc.uscourts.gov> wrote:
>
> Judge Newman,
>
> I am following-up on your January 31 email to Tanja Brewer seeking to extend Josh
Horowitz's clerkship to at least June 2024. As I previously explained to Josh by email,
any request to extend his term clerkship needs to be accompanied by an explanation
and justification for the need for his continued services.   
>
> Because you have not heard new cases for nearly a year, you have been suspended
from hearing cases, and you have had no pending cases since November 8, 2023, a
justification is needed to determine whether his services as a law clerk are still
necessary pursuant to 28 U.S.C. § 712 which only permits the appointment of
"necessary law clerks and secretaries." Any justification needs to explain and take into
account what specific duties of his are still needed and why those duties cannot be
performed by your career law clerk in light of your suspension and lack of remaining
cases.
>
> In order to extend the term of Josh's clerkship beyond March 2024, which is the
original term for which he was hired, please send an explanation and justification of the
need to extend his term appointment. You may send the justification directly to me.
>
> Thank you,
> Adel
>
> Adel Pappas
> Assistant Circuit Executive for Human Resources
> U.S. Court of Appeals for the Federal Circuit
> (202)
>
> -----Original Message-----
> From: Judge Pauline Newman
> Sent: Wednesday, January 31, 2024 5:23 PM
> To: Tanja Brewer <          @cafc.uscourts.gov>
> Cc: Joshua Horowitz             @cafc.uscourts.gov>
> Subject: Tenure of Law Clerk Josh Horowitz
>
> Dear Tanja,
> Josh and I have agreed that his current clerkship will not end before the end of June
2024. Please assure that the records of his employ on my chambers staff are correct.
> Thank you.
> Judge Newman
>
